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December 3, 2023
                                                                                  Orrick, Herrington & Sutcliffe LLP
                                                                                  51 West 52nd Street
                                                                                  New York, NY 10019-6142
Via ECF
                                                                                  +1 212 506 5000
The Honorable Christopher M. Lopez                                                orrick.com

United States Bankruptcy Court
Southern District of Texas
515 Rusk Street, Courtroom 401                                                    Laura Metzger

Houston, TX 77002                                                                 E lmetzger@orrick.com
                                                                                  D +1 212 506 5149
                                                                                  F +1 212 506 5151


        Re:     In re: Strudel Holdings LLC and AVR AH LLC, Case No. 23-90757 (CML)
                (Jointly Administered)

Dear Judge Lopez:

        On behalf of Nineteen77 Capital Solutions A LP, Bermudez Mutuari, Ltd., and UBS
O’Connor LLC (together with Wilmington Trust National Association, the “Secured Parties”), we
write concerning and to supplement the Secured Parties’ (I) Response to (A) Debtors’ Emergency
Motion for Status Conference, (B) Statement of Back-Up Bidder Fleeger Family First LP
Regarding Notice of Postponement of Closing and Emergency Motion for Status Conference, (C)
Notice of Intent to Close with Back Up Bidder and (II) Emergency Motion to Modify the Sale Order
to Extend the Closing Date (Dkt. No. 275) (the “Sale Enforcement Motion”)1 and the status
conference held on November 30 (the “Status Conference”).

I.      SUPPLEMENT TO SALE ENFORCEMENT MOTION

        As explained in the Sale Enforcement Motion, the Sale Order unambiguously prevents the
Debtors from terminating the Purchase Agreement if the failure to close results from the Debtors’
own breach. The Debtors intentionally breached the Purchase Agreement by failing to pay all
amounts due to the HOA, admitted to the breach and then refused to cure. Thus, the Debtors’
attempt to terminate the Purchase Agreement is void and the Purchase Agreement remains in
effect. Section 6(b) of the Purchase Agreement provides that, if the sale is not consummated
because of the Debtors’ default, the Purchaser is excused from further performance and may either
(i) terminate the Purchase Agreement or (ii) “seek specific performance.” See Metzger Decl., Ex.
1 § 6(b). Accordingly, by the Sale Enforcement Motion, the Secured Parties sought an order from
this Court to enforce the Sale Order by “caus[ing] the Debtors to comply with the Purchase
Agreement (as currently drafted, or as proposed in the Second Amendment, which provides a



1
        Capitalized terms used but not otherwise defined herein have the meanings given to them in the Sale
Enforcement Motion.
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material benefit to the estate)”, “uphold[ing] the Sale Order”, and extending the Closing Date under
the Sale Order through December 8. Sale Enforcement Motion ¶ 17.

        The Secured Parties urge this Court to take all appropriate judicial action to cause the
Debtors to move forward with the sale to the Purchaser. To read the Sale Order and the Purchase
Agreement otherwise, would be the same as negating the entire Sale Order that approved the
transaction with the Purchaser – it would provide the Debtors with the power to elect which bidder
to close with, simply by opting to default, upending the bidding procedures, the auction, and the
bargain memorialized in the Sale Order and the Purchase Agreement. Under such a reading, all
the Debtors would have had to do is default immediately before the closing deadline and refuse to
cure (as they did) and say, “sorry, your closing deadline has passed.” Such a decision by this Court
would not only be inequitable and contrary to parties’ agreement in this case, but potentially have
larger implications in future 363 sales.

II.     RESPONSE TO STATUS CONFERENCE

      The Secured Parties also respectfully submit this letter to correct the inaccurate statements
made by counsel for Debtors’ and the Back-Up Bidder at the Status Conference.

         First, the Debtors and the Back-Up Bidder cannot invoke paragraph 8 of the Sale Order to
close a sale to the Back-Up Bidder. As explained in the Sale Enforcement Motion, paragraph 10
prevents the Debtors from closing with the Back-Up Bidder if the Closing Date did not occur
because of the Debtors’ breach of the Purchase Agreement. At the Status Conference, the Secured
Parties proffered evidence of the breach and filed evidence with their Sale Enforcement Motion.
Although paragraph 8 specifies that the Closing Date “shall occur no later than November 22,
2023”, it contains no mechanism for the Debtors to switch to the Back-Up Bidder after the Debtors’
breach. As such, even if paragraph 8 can be interpreted in the draconian way the Back-Up Bidder
suggests (preventing closing to the Secured Parties after the initial Closing Date under any
circumstances and putting the Debtors in complete control to opt whether to comply with the
Purchase Agreement to which they are bound) the Sale Order also prohibits the alternative sale to
the Back-Up Bidder. The sale of the Ranch cannot close with any party until this Court addresses
this, as requested by the Sale Enforcement Motion.2

        Second, the Debtors and the Back Up Bidder’s position relies on the Debtors’ misleading
statements that they did not default. But they did not submit any evidence in furtherance of their
positions. Nor could they because it is untrue. For their part, the Debtors drafted a simple statement
that they did not default and, at the Status Conference, contested whether a default had occurred

2
          As a procedural matter, neither the Debtors nor the Back-Up Bidder have requested modification of, or other
relief from, the Sale Order, that would enable them to close around the Secured Parties’ bargained-for protections in
paragraph 10 of the Sale Order.
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but provided no evidence to support that view, and offered no alternative interpretation of the
Purchase Agreement to explain why their failure to pay HOA fees and taxes on the property were
not defaults thereunder.3 The Back-Up Bidder’s counsel expressed many falsehoods, and he
clearly lacked personal knowledge of the relevant facts here. In contrast, the Secured Parties were
(and remain prepared) to present evidence of the Debtors’ default and their own compliance with
the Purchase Agreement if this Court deems necessary. Indeed, the Secured Parties’ principal,
Randal Johnson, appeared and was available to testify at the Status Conference.

        Third, the Secured Parties did not know until November 20 that the Debtors had insufficient
funds to cover the HOA obligations. The Secured Parties do not, as the Back-Up Bidder claimed,
have access to the Debtors’ accounts, nor do they receive reporting under the DIP Order.4 The
Debtors included HOA fees in the DIP Budget, and the Purchase Agreement clearly provides that
“[a]ny and all liabilities, obligations or amounts due to the [HOA] by Seller or otherwise
attributable or allocable to the Property shall be fully paid and satisfied by Seller as a condition of
Closing.” See Metzger Decl., Ex. 1 § 12(f). The Secured Parties were blindsided when the HOA
manager disclosed that the Debtors had not paid their HOA fees, and then the Debtors’ chief
restructuring officer disclosed that he had not drawn under the DIP Facility to pay any HOA fees.5
Even more shocking was that the Debtors’ insider affiliated DIP Lender was refusing to fund these
budgeted expenses.6




3
        In fact, at the hearing they admitted they did not pay the HOA fees because they did not think they had
approval to pay prepetition obligations notwithstanding their agreement to do so in the Purchase Agreement that the
Sale Order approved.

4
          Under the DIP Order, the Secured Parties do not receive variance or any other reports provided to the DIP
Lender.

5
         The Debtors have since disclosed that the Soukis had directly paid part, but not all, of the HOA fees due for
the post-petition period. This is just another example of the Soukis’ control over the case, blatant disregard for
applicable law, and unwillingness to abide by the Bankruptcy Code and the bankruptcy process. The Secured Parties
expressly reserve their rights to object to any claim by the Soukis for reimbursement of these fees from the DIP Facility
(or any budget that provides as such) and/or the Debtors, and believe that the DIP Facility cannot be used to reimburse
the Soukis without further order of this Court.

6
          The Secured Parties remind the Court that under the Purchase Agreement, if the Secured Parties are the
prevailing party, the Debtors are responsible for the fees costs and expenses. Purchase Agreement § 15(g). If they
prevail in this dispute, the Secured Parties will bring a separate motion for payment of such costs and expenses on an
administrative basis.
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       Fourth, the Purchaser was not in breach when the Sale failed to close by November 22
because the Debtors and the Purchaser amended the Purchase Agreement to extend the Closing
Date as permitted under paragraph 40 of the Sale Order.7 See Status Conference Motion, Ex. 3.

       Fifth, the Purchaser’s November 21 Default Notice did not terminate the Purchase
Agreement, nor did the Purchaser claim that it was unwilling to close the Sale. On the contrary,
the Default Notice demanded that the Debtors cure the defaults and advised the Debtors that if
they failed to do so, the Purchaser would seek specific performance to enforce the Purchase
Agreement. See Status Conference Motion, Ex. 1.

        Sixth, the Purchaser did not receive notice of the Fidelity Cyberattack breach until after it
delivered the Default Notice. Neither the Debtors nor the Back-Up Bidder have any evidence to
support the notion that, if the cyberattack had not occurred and the First Amendment not been
entered into, that the Secured Parties would not have closed over the default or sought specific
performance at that moment.8

        Seventh, the fact that the Back-Up Bidder Purchase Agreement provided for an option to
offset their purchase price with respect to unpaid HOA fees is irrelevant to the Secured Parties’
Purchase Agreement. The Secured Parties did not agree to similar language. Ironically, the Back-
Up Bidder’s argument for why it’s “bargained-for rights” should prevail is premised on the Back-
Up Bidder’s attempt to fault the Secured Parties for not giving up the rights they negotiated.

       The Fidelity Cyberattack altered the alternatives available to the parties, and the only
reasonable path forward for the Secured Parties was to amend the Closing Date and then
productively use that time to negotiate a resolution of the defaults with the Debtors. This is exactly
what the Secured Parties did until the Debtors ceased engaging on November 29th with the Status
Conference already on the calendar.9 The Secured Parties certainly appreciate how willing Your

7
           The Back-Up Bidder’s counsel referenced that the Secured Parties were not prepared to close because they
only first funded $30.5 million on Monday, November 27th. This completely misses the mark. Under the Purchase
Agreement the Secured Parties were required to fund an escrow or deliver a surety bond. Prior to this default, the
Secured Parties had lined up a surety and had fully negotiated terms ready to implement at closing consistent with the
terms of the Purchase Agreement. The surety bond was a significant out-of-pocket expense to the Secured Parties that
was to be funded contemporaneously with closing. As stated in the Sale Enforcement Motion, the Secured Parties
funded the account as part of the proposed Draft Second Amendment. See Sale Enforcement Motion ¶ 14.

8
        The Secured Parties note, however, that there is no timing requirement by which the Purchaser was required
to move for specific performance in the Purchase Agreement, which remains in effect.

9
          The Secured Parties did not “unilaterally” extend the Closing Date. The Secured Parties reached an agreement
with the Debtors to amend the Closing Date and provided notice to the Court. The Back-Up Bidder could have sought
relief from the Court to prevent the deadline extension but chose not to do so.
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Honor is to make himself available to resolve disputes – but the Secured Parties also believe that
Your Honor and this District strongly encourages parties to resolve disputes on their own and then
seek the Court’s approval, which is exactly what the Secured Parties, in good faith, believed they
were doing. A ruling that moves to a back-up bidder because a cyberattack prevented a closing,
where the debtors clearly defaulted pre-closing and the purchaser had noticed the default,
demanded cure, and actively negotiated a resolution through a holiday weekend would truly
surprise the market. Such a result would encourage litigation and discourage the self-mediation
bankruptcy professionals excel at, massively increasing expenses for all involved, and flooding
the courts with countless issues to resolve.

         Finally, the Secured Parties are seriously concerned about the damage done to their
collateral directly caused by the Back-Up Bidder’s and Debtors’ conduct over the last two weeks,
if not longer. Although the Secured Parties have a new committed title policy, an appeal in this
dispute could materially alter the terms of that policy. The Debtors and Mr. Souki are sophisticated
real estate investors, and they know the impact that this dispute has had on clean title. There is
risk that no matter the Court’s decision, the Debtors’ and the Back-Up Bidders’ actions have
sabotaged the sale and it may never close. As this Court relied heavily on the sale as the
“bankruptcy purpose” in its ruling on the Secured Parties’ motion to dismiss the Debtors’ chapter
11 cases, the Secured Parties reserve all rights to bring a new motion to dismiss, seek relief from
the automatic stay or the appointment of a chapter 11 trustee because of the change in
circumstances.

       We thank the Court for its attention to this matter.


                                                  Respectfully,

                                                  _/s/ Laura Metzger______

                                                  Laura Metzger
